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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION



MARIA NELSON, INDIVIDUALLY,                      §
AND AS A REPRESENATATIVE OF THE                  §
ESTATE OF ROSENDO ROEL,                          §
DECEASED, AND JOSE ROEL,                         §
                                                 §
        Plaintiffs,                              §
                                                 §          C.A. NO: ______________________
v.                                               §
                                                 §
                                                 §
UNION PACIFIC RAILROAD COMPANY,                  §
and JOHN DOES,                                   §
                                                 §
        Defendants.                              §

                       NOTICE OF REMOVAL TO FEDERAL COURT

        Defendant, Union Pacific Railroad Company (“Union Pacific”), by and through its

attorneys, files this Notice of Removal pursuant to 28 U.S.C. §§1441 and 1446, of an action filed

in the District Court of Dallas County, Texas, entitled “Maria Nelson, individually and as a

representative of the Estate of Rosendo Roel, deceased and Jose Roel vs. Union Pacific Railroad

Company and John Does” now pending there as civil action No. DC-20-11442. In support of this

notice, Union Pacific states as follows:

        1.      Attached as Exhibit 1 is a true and correct copy of the Amended Petition on file in

the 68th Judicial District Court of Dallas County, Texas. The amended petition was filed on

February 17, 2021.

        2.      A copy of this Notice of Removal will be promptly served upon plaintiffs and

filed with the clerk of the state court.
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        4.     Plaintiff’s Petition is in one count and seeks recovery against Union Pacific under

the theory of negligence.

        5.     Plaintiff’s complaint alleges that she is a resident of Dallas County, Texas.

        6.     Union Pacific’s principal place of business is in Omaha, Nebraska. It is

incorporated in the State of Delaware.

        7.     Plaintiff’s Petition alleges that Plaintiff’s sustained damages and seeks recovery

including “the wrongful death of Rosendo Roel, past and future mental anguish, loss of

consortium, and other intangible damages.” On information and belief, the amount in

controversy meets the jurisdictional requirements for removal to this Court.

        8.     By virtue of the diversity of citizenship between the parties and the amount in

controversy, this Court has original jurisdiction of this action pursuant to 28 U.S.C. §1332(a) and

(c) and, therefore, defendant is entitled to remove this action pursuant to 28 U.S.C. §1441(a) and

(b).

        9.     This Notice of Removal has been filed within the statutory timeframe after

dismissal of parties, which Union Pacific first received notice on or after May 7, 2021. The

Notice of Removal is therefore timely under 28 U.S.C. §1446(c).

        WHEREFORE, defendant Union Pacific Railroad Company prays that civil action No.

DC-20-11442 now pending in the District Court of Dallas County, Texas, be removed to the

United States District Court for the Northern District of Texas, Dallas Division.

Dated: June 28, 2021
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                                             Respectfully submitted,

                                             /s/ Whitney C. Larkin
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                                             ATTORNEY FOR DEFENDANT
                                             UNION PACIFIC RAILROAD COMPANY




                                CERTIFICATE OF SERVICE

       I, Whitney C. Larkin, attorney for Union Pacific Railroad Company, hereby certify that

on this 28th day of June, 2021, the foregoing document was filed via the Court’s electronic filing

system.

                                                    /s/ Whitney C. Larkin
                                                    Whitney C. Larkin
